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                                                             Our File No.: 114608

                                                                                         UNITED STATES DISTRICT COURT
                                                                                         SOUTHERN DISTRICT OF FLORIDA
                                                                                             MIAMI-DADE DIVISION



                                                             Joel Velez, individually and on behalf of all others         Docket No:
                                                             similarly situated,
                                                                                                                          CLASS ACTION COMPLAINT
                                                                                    Plaintiff,
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                          GARDEN CITY, NEW YORK 11530




                                                                                                                          JURY TRIAL DEMANDED
                                                                                         vs.

                                                             Hayt, Hayt & Landau, P.L.,

                                                                                   Defendant.


                                                                    Joel Velez, individually and on behalf of all others similarly situated (hereinafter referred
                                                             to as “Plaintiff”), by and through the undersigned counsel, complains, states and alleges against
                                                             Hayt, Hayt & Landau, P.L. (hereinafter referred to as “Defendant”), as follows:
                                                                                                     INTRODUCTION
                                                                    1.      This action seeks to recover for violations of the Fair Debt Collection Practices
                                                             Act, 15 U.S.C. § 1692, et seq. (“FDCPA”).
                                                                                                 JURISDICTION AND VENUE
                                                                    2.      This Court has federal subject matter jurisdiction pursuant to 28 U.S.C. § 1331
                                                             and 15 U.S.C. § 1692k(d).
                                                                    3.      Venue is proper under 28 U.S.C. § 1391(b) because a substantial part of the
                                                             events or omissions giving rise to the claim occurred in this Judicial District.
                                                                    4.      At all relevant times, Defendant conducted business within the State of Florida.




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                                                                                                            PARTIES

                                                                         5.    Plaintiff Joel Velez is an individual who is a citizen of the State of Florida
                                                             residing in Miami-Dade County, Florida.
                                                                         6.    Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
                                                                         7.    On information and belief, Defendant Hayt, Hayt & Landau, P.L., is a Florida
                                                             Professional Corporation with a principal place of business in Miami-Dade County, Florida.
                                                                         8.    Defendant is regularly engaged, for profit, in the collection of debts allegedly
                                                             owed by consumers.
                                                                         9.    Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

                                                                                                        ALLEGATIONS

                                                                         10.   Defendant alleges Plaintiff owes a debt (“the Debt”).
                                                                         11.   The Debt was primarily for personal, family or household purposes and is
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                                                             therefore a “debt” as defined by 15 U.S.C. § 1692a(5).
                                                                         12.   Sometime after the incurrence of the Debt, Plaintiff fell behind on payments
                                                             owed.
                                                                         13.   Thereafter, at an exact time known only to Defendant, the Debt was assigned or
                                                             otherwise transferred to Defendant for collection.
                                                                         14.   In its efforts to collect the debt, Defendant contacted Plaintiff by letter (“the
                                                             Letter”) dated November 14, 2017. (“Exhibit 1.”)
                                                                         15.   The Letter was the initial communication Plaintiff received from Defendant.
                                                                         16.   The Letter is a “communication” as defined by 15 U.S.C. § 1692a(2).
                                                                         17.   The Debt was accruing interest at the time the Letter was sent to Plaintiff.
                                                                         18.   15 U.S.C. § 1692e requires debt collectors, when they notify consumers of their
                                                             account balance, to disclose whether the balance may increase due to interest and fees.
                                                                         19.   The Letter fails to include any “safe harbor” language concerning the accrual of
                                                             interest.
                                                                         20.   The Letter fails to indicate the minimum amount Plaintiff owed at the time of
                                                             receipt of the Letter.
                                                                         21.   The Letter fails to provide information that would allow the least sophisticated
                                                             consumer to determine the minimum amount he or she owes at the time of receipt of the Letter.


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                                                                     22.     The Letter fails to provide information that would allow Plaintiff to determine
                                                             what Plaintiff will need to pay to resolve the debt at the time of receipt of the Letter.
                                                                     23.     The Letter fails to provide information that would allow the least sophisticated
                                                             consumer to determine what he or she will need to pay to resolve the debt at the time of receipt of
                                                             the Letter.
                                                                     24.     The Letter fails to provide information that would allow the least sophisticated
                                                             consumer to determine the amount of interest owed.
                                                                     25.     For instance, the Letter fails to indicate whether additional interest will be added.
                                                                     26.     For instance, the Letter fails to indicate the date additional interest will be added.
                                                                     27.     For instance, the Letter fails to indicate the amount of additional interest that may
                                                             be added.
                                                                     28.     The Letter fails to contain an explanation, understandable by the least
                                                             sophisticated consumer, of any interest that may cause the amount stated to increase.
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                                                                     29.     The Letter, because of the aforementioned failures, would render the least
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                                                             sophisticated consumer unable to determine the minimum amount owed at the time of receipt of
                                                             the Letter.
                                                                     30.     The Letter, because of the aforementioned failures, would render the least
                                                             sophisticated consumer unable to determine what she will need to pay to resolve the debt at the
                                                             time of receipt of the Letter.
                                                                     31.     The Letter, because of the aforementioned failures, would render the least
                                                             sophisticated consumer unable to determine the amount of his or her debt at the time of receipt of
                                                             the Letter.
                                                                     32.     The Letter, because of the aforementioned failures, would render the least
                                                             sophisticated consumer unable to determine the amount of her debt because the consumer would
                                                             not know whether interest would continue to accrue, or whether the amount of the debt was static.
                                                                     33.     The Letter, because of the aforementioned failures, did not convey “the amount of
                                                             the debt” clearly from the perspective of the least sophisticated consumer.
                                                                     34.     The Letter, because of the aforementioned failures, did not convey “the amount of
                                                             the debt” accurately from the perspective of the least sophisticated consumer.
                                                                     35.     The Letter, because of the aforementioned failures, did not convey “the amount of
                                                             the debt” without ambiguity from the perspective of the least sophisticated consumer.



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                                                                     36.     Because of the aforementioned failures, the least sophisticated consumer would
                                                             likely be confused as to the amount of the debt.
                                                                     37.     Because of the aforementioned failures, the least sophisticated consumer would
                                                             likely be uncertain as to the amount of the debt.
                                                                     38.     The Letter, because of the aforementioned failures, violates 15 U.S.C. § 1692e.
                                                                     39.     The Letter, for all of the foregoing reasons, violates 15 U.S.C. § 1692e.

                                                                                                  CLASS ALLEGATIONS
                                                                     40.     Plaintiff brings this action individually and as a class action on behalf of all
                                                             persons similarly situated in the State of Florida from whom Defendant attempted to collect an
                                                             interest bearing consumer debt without providing a “safe harbor” as required, from one year
                                                             before the date of this Complaint to the present.
                                                                      41.    This action seeks a finding that Defendant’s conduct violates the FDCPA, and
                                                             asks that the Court award damages as authorized by 15 U.S.C. § 1692k.
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                                                                      42.    Defendant regularly engages in debt collection.
                                                                      43.    The Class consists of more than 35 persons from whom Defendant attempted to
                                                             collect interest bearing consumer debts without providing a “safe harbor” as required.
                                                                      44.    Plaintiff’s claims are typical of the claims of the Class. Common questions of law
                                                             or fact raised by this class action complaint affect all members of the Class and predominate over
                                                             any individual issues. Common relief is therefore sought on behalf of all members of the Class.
                                                             This class action is superior to other available methods for the fair and efficient adjudication of
                                                             this controversy.
                                                                      45.    The prosecution of separate actions by individual members of the Class would
                                                             create a risk of inconsistent or varying adjudications with respect to the individual members of
                                                             the Class, and a risk that any adjudications with respect to individual members of the Class
                                                             would, as a practical matter, either be dispositive of the interests of other members of the Class
                                                             not party to the adjudication, or substantially impair or impede their ability to protect their
                                                             interests. Defendant has acted in a manner applicable to the Class as a whole such that
                                                             declaratory relief is warranted.
                                                                     46.     Plaintiff will fairly and adequately protect and represent the interests of the Class.
                                                             The management of the class action proposed is not extraordinarily difficult, and the factual and



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                                                             legal issues raised by this class action complaint will not require extended contact with the
                                                             members of the Class, because Defendant’s conduct was perpetrated on all members of the Class
                                                             and will be established by common proof. Moreover, Plaintiff has retained counsel experienced
                                                             in actions brought under consumer protection laws.

                                                                                                    JURY DEMAND

                                                                     47.   Plaintiff hereby demands a trial of this action by jury.

                                                                                                PRAYER FOR RELIEF
                                                                    WHEREFORE, Plaintiff respectfully requests judgment as follows:

                                                                                      a. Certify this action as a class action; and

                                                                                      b. Appoint Plaintiff as Class Representative of the Class, and
                                                                                      Plaintiff’s attorneys as Class Counsel; and
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                                                                                      c. Find that Defendant’s actions violate the FDCPA; and

                                                                                      d. Grant damages against Defendant pursuant to 15 U.S.C. § 1692k;
                                                                                      and

                                                                                      e. Grant Plaintiff’s attorneys’ fees pursuant to 15 U.S.C. § 1692k;
                                                                                      and

                                                                                      f. Grant Plaintiff’s costs; together with

                                                                                      g. Such other relief that the Court determines is just and proper.


                                                             DATED: September 26, 2018

                                                                                                          BARSHAY SANDERS, PLLC

                                                                                                          By: _/s/ Craig B. Sanders ____________
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